            Entered on Docket April 6, 2021                        Below is the Order of the Court.




                                                                    _________________________
                                                                    Timothy W. Dore
                                                                    U.S. Bankruptcy Court
                                                                    (Dated as of Entered on Docket date above)




 1    __________________________________________________________________________
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 4
                              IN THE UNITED STATES BANKRUPTCY COURT
 5
                                  WESTERN DISTRICT OF WASHINGTON
 6
 7    In re:                                         CHAPTER 7
 8    KIMBERLY JO LINEBARGER,                        NO. 11-24753
 9
10                                 Debtor.           ORDER SHORTENING TIME TO HEAR
11                                                   MOTION FOR AN ORDER REOPENING
12                                                   CLOSED CASE AND MOTION FOR AN ORDER
13                                                   AVOIDING JUDICIAL LIEN OF RIVER RIDGE
14                                                   TOWNHOMES ASSOCIATION
15
16             THIS MATTER having come on regularly before the above-signed on the debtor’s
17
18   Motion to Shorten Time to Hear Motion for an Order Reopening Closed Case and Motion for an
19
     Order Avoiding Judicial Lien of River Ridge Townhomes Association, and the Court having
20
21   reviewed the file and record herein and considering itself fully advised of the premises; it is now
22
23   therefore
24
     //
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26   //
27
28


     Motion to Shorten Time
     S:\Bankruptcy\Clients filing\L\LI\Linebarger, Kim\Post 341\Motions\Shorten Time\Motion to Shorten Time.wpd




          Case 11-24753-TWD         Doc 33      Filed 04/06/21       Ent. 04/06/21 16:38:44           Pg. 1 of 2
               ORDERED that the Court will hear the debtor’s Motion for an Order Reopening Closed

     Case, on April 23, 2021, at 9:30 A.M., with a response date of April 21, 2021. It is further

               ORDERED that the Court will hear the debtor’s Motion for an Order Avoiding Judicial

     Lien of River Ridge Townhomes Association on April 23, 2021, at 9:30 a.m., with a response

     date of April 21, 2021. It is further
 1
 2             ORDERED that the deadline to serve both Motions is 24 hours after entry of this order.
 3
                                                  ///End of Order///
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 7   Presented by:
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 9
10   /s/Dorothy A. Bartholomew
11   Dorothy A. Bartholomew
12   WSBA No. 20887
13   Attorney for Kimberly Jo Linebarger
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     Motion to Shorten Time
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       Case 11-24753-TWD            Doc 33      Filed 04/06/21       Ent. 04/06/21 16:38:44         Pg. 2 of 2
